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IN THE UNITED sTATEs DISTRICT cOURT
FOR THE wESTERN DISTRICT oF TENNESS@§F{
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DELO I S ADAIVIS ,
Plaintiff,
v. No. 04-2403 Ml/P

ALLSTATE INSURANCE COMPANY ,

--_d~_»--_¢~...,~_,-.__/-.__/~_¢`.-

Defendant.

 

COUR'I‘ ORDERED MEDIATION

 

Pursuant to discussion during the telephone conference held in
this case on Tuesday, May 24, 2005, the Court hereby refers the
case for mediation either by Charles O. McPherson or through the
court-annexed mediation program in order for the parties to attempt

to achieve a settlement of the issues.

Mediation is a non~binding process conducted with the
assistance of a neutral mediator. Mediation will be confidential
and privileged from process and discovery. Following mediation,
the court Will be advised by Written report from the mediator that
the parties did or did not settle the case, and whether further
mediation is planned or recommended. Should the case not settle
and the matter proceed to litigation, the mediator shall not be a
witness, nor shall the mediator's records be subpoenaed or used as

evidence. No subpoenas, citations, writs, or other process shall

This document entered on the docket sheet !n compliance
with Ru|e 58 and/or?§{a) FRCP on * 'O 17

Case 2:04-Cv-02403-.]PI\/|-tmp Document 17 Filed 05/25/05 Page 2 of 6 Page|D 38

be served at or near the location of any mediation session upon any

person entering, leaving, or attending any mediation session.

The parties have agreed that they will contact Charles O.
McPherson, Esq. to conduct the mediation_ in this case. If,
however, Charles McPherson is unable to conduct the mediation,
counsel shall contact the court clerk, who will then provide to
each counsel a list of five court-certified mediators randomly
selected from the court's mediation panel, in accordance with the
local rule on mediation and the procedures adopted by the court as
described in the Mediation Program Plan for the United States
District Court for the Western District of Tennessee. The parties
may proceed by either a strike system or by agreement to select a
mediator. If the parties are unable to agree on a mediator for
this case, they are directed to promptly advise the court and the

court will resolve the matter.

TI-IE GENERAL RULES GOVERNING THE MEDIATION CONFERENCE SHALL BE
AS FOLLOWS:

(a) The Mediation Program Coordinator (Office of the Clerk of
Court, United States District Court for the Western District of
Tennessee) shall provide the mediator a copy of this Order and a
copy of the complaint and answer within three {3) days of

notification of selection of the mediator by the parties. The

Case 2:04-Cv-02403-.]PI\/|-tmp Document 17 Filed 05/25/05 Page 3 of 6 Page|D 39

mediator will promptly review these documents to determine whether
to accept the mediation assignment. If the mediator agrees to
mediate the case, the mediator will notify the parties, through
counsel, and the Mediation Program Coordinator of the scheduled
mediation conference. If, however, the mediator declines the
assignment, the mediator shall immediately notify the Mediation
Progranl Coordinator‘ of same and the parties will be afforded

another opportunity to jointly select a mediator.

(b) Each party must be represented by a person with full
authority to negotiate a complete compromise and settlement. Such
persons shall be present during the entire mediation process.
Failure of any party to have an authorized individual present at
the mediation may result in the assessment of expenses, costs, and
fees for' all other attending parties. The participants shall

exercise their best efforts to settle the case.

(C) THE PARTIES SHALL PREPARE A BRIEF WRITTEN SUMMARY OF THE
FACTS AND ISSUES which shall be provided the mediator not less than
ten (lO) days before the scheduled conference. `All discussions,
representations and statements made at the mediation conference
SHALL BE PRIVILEGED as settlement negotiations and nothing related
to the conference shall be admitted at trial as evidence or subject

to discovery. ee Federal Rule of Evidence 408.

Case 2:04-Cv-02403-.]PI\/|-tmp Document 17 Filed 05/25/05 Page 4 of 6 Page|D 40

(d) Counsel and parties, in consultation with the mediator,
shall agree upon a mediation date within thirty (30) days from the
entry of this order. lf no agreed date can be scheduled within
thirty (30) days from the entry of this order, then the mediator
shall select a date within the thirty (30) days, and all parties
shall appear as directed by the mediator. The location of the

mediation conference shall be established by the mediator.

In the event it shall become impossible for an attorney or a
party' to attend the conference as scheduled, coordination for
rescheduling shall be done through the mediator, and the mediator
shall advise the court's Mediation Program Coordinator of the new

mediation conference date.

In any event, the mediation shall be conducted prior to August
10[ 2005. Failure to mediate will not be considered cause for the

continuance of the trial date. Referral to mediation is not a
substitute for trial and the case will be tried if not settled.

The conditions stated in this Order will remain in effect.

(e) The mediator shall make a report to the court, through
the Mediation Program Coordinator, of the results of the mediation
conference within ten (lO) days of the conclusion thereof. If, in
the opinion of the mediator, the mediation process necessitates
more than one mediation conference, the mediator shall submit a

4

Case 2:04-Cv-02403-.]PI\/|-tmp Document 17 Filed 05/25/05 Page 5 of 6 Page|D 41

mediation conference report within ten (lO) days of each successive

conference.

(f) The mediator shall be compensated in accordance with the
fee arrangement between the parties, the costs of mediation being
borne equally by the parties, unless otherwise agreed to by the
parties and approved by the court. In the instant case, the Court
understands that the costs of mediation will, by agreement, be

borne by the defendant.1

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IT IS SO ORDERED this ;§2 day of May, 2005.

QWOQQ

JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

1 The parties should advise the Court if this order should be
changed to reflect a different agreement.

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 17 in
case 2:04-CV-02403 Was distributed by faX, mail, or direct printing on
May 26, 2005 tc the parties listed.

 

Charles M. Agee

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Honcrable J on McCalla
US DISTRICT COURT

